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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

 JOHN DOE,
                Plaintiff
        v.                                          Civil Action No: 1:19-cv-11626-DPW

 TRUSTEES OF BOSTON COLLEGE,
                Defendant

                   DEFENDANT’S MOTION TO DISMISS COMPLAINT

       The defendant, Trustees of Boston College (“BC”), moves to dismiss the complaint for

failure to state a claim pursuant Fed. R. Civ. P. 12(b)(6). In support of its motion, BC submits

the accompanying Memorandum and Declaration of Elizabeth H. Kelly, with exhibits thereto.

                                               TRUSTEES OF BOSTON COLLEGE,

                                               /s/Elizabeth H. Kelly
                                               Daryl J. Lapp (BBO No. 554980)
                                                  daryl.lapp@lockelord.com
                                               Elizabeth H. Kelly (BBO No. 672277)
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                                               LOCKE LORD LLP
                                               111 Huntington Avenue
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October 18, 2019                               617.230.0100


                            Certification Pursuant to Local Rule 7.1(a)(2)

        I certify that counsel for BC have conferred with opposing counsel in a good-faith effort
to narrow or resolve the issues raised in this Motion.

                                                      /s/ Elizabeth H. Kelly
                                                      Elizabeth H. Kelly
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                                     Certificate of Service

        I certify that on October 18, 2019, this document was filed through the Electronic Case
Filing System of the United States District Court for the District of Massachusetts and will be
served electronically by the Court to the Registered Participants identified in the Notice of
Electronic Filing.


                                                    /s/ Elizabeth H. Kelly
                                                    Elizabeth H. Kelly




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